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Ree@S€ofB:23-cv-00142-Bizvo+omeeaaTeamt 29 Filed O4MWilette Page 1 Of 1 From: de Mayrinck, Lucia

UNITED STATES DISTRICT COURT —
DISTRICT OF AHO

Form IB. Waiver of Service of Summons

To:  /s/ Colleen R. Smith (SB No. 10023)
plaintiff's attorney or uncepresented plaintiff)

(name of

 

l acknowledge receipt of your request that | waive service of a summons in the action of
_Planned Parenthood Greal Northwest, Hawaii, Alaska, Indiana, Kentucky et. al. V. Labrador et. al.

 

(caption of actton)
which is case number [:23-0v-00142-DKG i the United States Disirict
(docket number)
Court for the District of Idaho. I have also received a copy of the complaint in the action, two copies of this
instrument, and a means by which ] can return the signed waiver to you without a cost to me.

T agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by
not requiting that I (or the entity on whose behalf T am acting) be served with judicial process in the manner provided
by Rule 4.

T (or the entity on whose behalf T am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the service of the
summons.

I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if an
answer or motion under Rule 12 is not served upon you within 60 days after

April 6, 2023 , or within 90 days after that date
(date request was sent)
if the request was sent outside the United States.

Lk- LO- 2023 * Cea, OD. fri——

 

 

 

 

 

(Date) on (Signa c}
DFimmy Fo Fuoma>
(Printed/Typed Name)
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lot Lamas CHV AY dena |

Duty to Avoid Unnecessary Costs of Service of Summons:

Rule 4 of the Federal Roles of Civil Procedure requires certain parties to cuuperate in saving unnecessary costs of service of the simamons and complaint.
A deferatant who, after being notified ofan action and asked to waive service of a summons, fails to do $0 will be required to bear the cost uf such service unless good
cause be shown for its falhere to sign avd cetura the waiver, :

Tt is not good cause for a fiikure to waive service that 4 party believes that the complaint is unfowided, or that the action has been bronght in an improper
place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of the sunmons retring
all defenses and objections {except any relating (o the summons or to dte service of the summons), and muty later abject to the jurisdiction of the court or te the place
where the aetion has been brought.

A lefendant who waited cereice inst within the tine specifind of the waiver form serve on the plaintiffs attorney (oy unyepresented plaintif) a respanse
tv the complainé and roast alse file a signed copy of the response with the court, If the answer or motion is not served within this line, w defeull judgment may be
taken against the defendant. Ry waiving service, a defendant is allowed more tie to answer than if the summons has been actually served wher the request far waiver
af service was received, Defendant can respond by signing and returning waiver (Fort 1B} or defendant may fail te retwern walver within the time allowed.
Mf waiver is not used, the plaintiff must serve process as stated in the rale iat may recover coals Crom defendant,

® LIST ALL THE DEFENDANTS TO WHOM THIS WAIVER APPLIES
